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                                                                   Pg 1 of 16
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


  Southern
 ____________________               New York
                      District of _________________
                                        (State)
                            21-
 Case number (If known): _________________________          11
                                                   Chapter _____                                                                     Check if this is an
                                                                                                                                        amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                               JPA  No. 111 Co., Ltd.
                                                  ______________________________________________________________________________________________________



                                               N/A
 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer               ___ ___ – ___ ___ ___ ___ ___ ___ ___
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                  Mailing address, if different from principal place
                                                                                                           of business

                                               Kasumigaseki Common Gate West Tower
                                              ______________________________________________               _______________________________________________
                                              Number     Street                                            Number     Street

                                              3-2-1 Kasumigaseki
                                              ______________________________________________               _______________________________________________
                                                                                                           P.O. Box
                                              Chiyoda-Ku             TOKYO 100-0013
                                              ______________________________________________               _______________________________________________
                                              City                        State    ZIP Code                City                      State      ZIP Code

                                              JAPAN
                                                                                                           Location of principal assets, if different from
                                                                                                           principal place of business
                                              ______________________________________________
                                              County                                                        Various international airports and/or the air
                                                                                                           _______________________________________________
                                                                                                           Number     Street

                                                                                                           _______________________________________________

                                                                                                           _______________________________________________
                                                                                                           City                      State      ZIP Code




 5.   Debtor’s website (URL)                  ____________________________________________________________________________________________________




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Debtor         JPA No. 111 Co., Ltd.
              _______________________________________________________                                                 21-
                                                                                              Case number (if known)_____________________________________
              Name



                                          x Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                          
 6.   Type of debtor
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          x None of the above
                                          

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              4 ___
                                             ___ 8 ___
                                                    1 ___
                                                       1

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                          x Chapter 11. Check all that apply:
                                          
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                              The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
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Debtor           JPA No. 111 Co., Ltd.
                _______________________________________________________                                                 21-
                                                                                                Case number (if known)_____________________________________
                Name



 9.    Were prior bankruptcy cases           x No
                                             
       filed by or against the debtor
       within the last 8 years?               Yes.    District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                                  District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY

 10.   Are any bankruptcy cases               No
       pending or being filed by a
       business partner or an                x Yes.
                                                      Debtor ___
                                                                JPA    No. 49 Co., Ltd.______________________        Relationship __Affiliate____________
       affiliate of the debtor?                                  Southern District of New York
                                                       District _____________________________________________ When                12/17/2021
                                                                                                                                 __________________
       List all cases. If more than 1,                                                                                           MM / DD / YYYY
                                                                              21-
                                                       Case number, if known ________________________________
       attach a separate list.


 11.   Why is the case filed in this         Check all that apply:
       district?                             x Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             
                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                             
                                             x A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.



 12.   Does the debtor own or have           x No
                                             
       possession of any real                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                           Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard? _____________________________________________________________________

                                                         It needs to be physically secured or protected from the weather.

                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                         Other _______________________________________________________________________________



                                                      Where is the property?_____________________________________________________________________
                                                                                Number          Street

                                                                                ____________________________________________________________________

                                                                                _______________________________________         _______ ________________
                                                                                City                                            State ZIP Code


                                                      Is the property insured?
                                                         No
                                                         Yes. Insurance agency ____________________________________________________________________

                                                               Contact name     ____________________________________________________________________

                                                               Phone            ________________________________




               Statistical and administrative information




 Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
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Debtor         JPA No. 111 Co., Ltd.
             _______________________________________________________
                                                                                                                     21-
                                                                                                Case number (if known)_____________________________________
             Name




 13.   Debtor’s estimation of            Check one:
       available funds                   x Funds will be available for distribution to unsecured creditors.
                                         
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                         x 1-49
                                                                             1,000-5,000                                25,001-50,000
 14.   Estimated number of                50-99                              5,001-10,000                               50,001-100,000
       creditors
                                          100-199                            10,001-25,000                              More than 100,000
                                          200-999

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 15.   Estimated assets                   $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million               x $100,000,001-$500 million
                                                                                                                         More than $50 billion

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 16.   Estimated liabilities              $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million               x $100,000,001-$500 million
                                                                                                                         More than $50 billion


              Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.   Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of
                                             petition.
       debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                         12/17/2021
                                             Executed on _________________
                                                         MM / DD / YYYY


                                          /s/Teiji Ishikawa
                                             _____________________________________________                 Teiji Ishikawa
                                                                                                          _______________________________________________
                                             Signature of authorized representative of debtor             Printed name

                                                   Representative Director
                                             Title _________________________________________




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Debtor
               JPA No. 111 Co., Ltd.
              _______________________________________________________                                              21-
                                                                                          Case number (if known)_____________________________________
              Name




 18.   Signature of attorney
                                         /s/Kyle J. Ortiz
                                            _____________________________________________            Date         12/17/2021
                                                                                                                 _________________
                                            Signature of attorney for debtor                                     MM    / DD / YYYY



                                            Kyle J. Ortiz
                                           _________________________________________________________________________________________________
                                           Printed name
                                            Togut, Segal & Segal LLP
                                           _________________________________________________________________________________________________
                                           Firm name
                                            One Penn Plaza, Suite 3335
                                           _________________________________________________________________________________________________
                                           Number     Street
                                            New York
                                           ____________________________________________________
                                                                                                            NY           10119
                                                                                                           ____________ ______________________________
                                           City                                                            State        ZIP Code

                                            212-594-5000
                                           ____________________________________                             kortiz@teamtogut.com
                                                                                                           __________________________________________
                                           Contact phone                                                   Email address



                                            4818571                                                NY
                                           ______________________________________________________ ____________
                                           Bar number                                             State




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TOGUT, SEGAL & SEGAL LLP
One Penn Plaza, Suite 3335
New York, New York 10119
(212) 594-5000
Kyle J. Ortiz
Bryan M. Kotliar
Amy M. Oden
Amanda C. Glaubach

Proposed Counsel to the Debtors
and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                                  Chapter 11

JPA NO. 111 CO., LTD. and                               Case No.: 21-              (     )
JPA NO. 49 CO., LTD.,
                                                        (Joint Administration Pending)
                                     1
                         Debtors.


         SCHEDULE OF CREDITORS HOLDING LARGEST SECURED CLAIMS

             The following are the only known creditors holding secured claims
against the Debtors, as of October 4, 2021.

              This information has been prepared from the books and records of the
Debtors, and in accordance with Bankruptcy Rule 1007(d), for filing in the Debtors’
chapter 11 cases.

               The information set forth herein shall not constitute an admission of
liability by, nor is binding on, the Debtors and the failure to list a claim as contingent,
disputed, or subject to set off shall not be a waiver of any of the Debtors’ rights relating
thereto.




1     The Debtors in these Chapter 11 Cases are: JPA No. 111 Co., Ltd. and JPA No. 49 Co., Ltd. The
      Debtors’ corporate address is Kasumigaseki Common Gate West Tower, 3-2-1 Kasumigaseki,
      Chiyoda-Ku, Tokyo 100-0013.
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                                                                                  Description of
      Lender/Address/E-mail/Telephone No.                     Claim
                                                                                   Collateral
    1. FitzWalter Capital Partners (Financial            $128,528,708.632 Two (2) Airbus A350
    Trading) Limited (“FitzWalter”)                                       Aircraft and certain
                                                                          rights and claims
    21 Bruton Street, London W1J 6QD                                      related thereto
    Andrew Gray
    joe.brough@fwcap.com,
    Andrew.gray@fwcap.com,
    legalnotices@fwcap.com, VNA-
    A350@fwcap.com

    2. THE KOREA DEVELOPMENT BANK,                       $27,009,798.56       One Airbus A350
    TOKYO BRANCH                                                              (MSN 67)Aircraft and
                                                                              certain rights and
    14 Eunhaeng-ro, Yeongdeungpo-gu, Seoul                                    claims related thereto
    07242, Korea
    Project Finance Department III / Aviation
    Finance Team
    Sujin KIM / Deputy General Manager
    sujin@kdb.co.kr

    3. Sumitomo Mitusi Trust Bank                        $20,548,787.28       One Airbus A350
                                                                              (MSN 173) Aircraft
    1-4-1 Marunouchi, Chiyoda-ku, Tokyo                                       and certain rights and
    Structured Finance Department                                             claims related thereto
    Hitoshi Shinkai
    Shinkai_Hiroshi@smtb.jp

    4. MEGA INTERNATIONAL             $16,205,879.13                          One Airbus A350
    COMMERCIAL BANK, CO., LTD., TOKYO                                         (MSN 67)Aircraft and
    BRANCH                                                                    certain rights and
                                                                              claims related thereto
    2-2-1 Marunouchi, Chiyoda-ku, Tokyo
    Tokyo Branch
    Becky Yi Hung Lo
    tkyln@megabank.com.tw,
    cindylee@megabank.com.tw,
    007595@megabank.com.tw,
    manage@megabank.com.tw




2
    Includes certain secured swap obligations purportedly terminated on December 1, 2021.
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                                                                     Description of
   Lender/Address/E-mail/Telephone No.              Claim
                                                                      Collateral
 5. Mizuho Leasing Company, Limited            $15,729,916.33     Two (2) Airbus A350
                                                                  Aircraft and certain
 1-2-6 Tranomon, Minato-ku, Tokyo                                 rights and claims
 Aviation Business Department                                     related thereto
 Yoshihiko Fujita
 yoshihiko.fujita@mizuho-ls.co.jp


DECLARATION UNDER PENALTY OF PERJURY:

              I, Teiji Ishikawa, the undersigned Representative Director on behalf of the
Debtors, declare under penalty of perjury that I have read the foregoing List of
Creditors Holding the Largest Secured Claims and that the list is true and correct to the
best of my information and belief.

Dated:    Chiyoda-Ku, Tokyo
          December 17, 2021

                                         By: /s/Teiji Ishikawa
                                         Name: Teiji Ishikawa
                                         Title: Representative Director
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      Fill in this information to identify the case:

                   JPA No. 111 Co., Ltd.
      Debtor name __________________________________________________________________
                                               Southern
      United States Bankruptcy Court for the: ______________________             New York
                                                                     District of _________

      Case number (If known):
                                 21-
                                _________________________
                                                                             (State)
                                                                                                                                          Check if this is an
                                                                                                                                              amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                  12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete          Name, telephone number, and     Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code    email address of creditor       (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                            contact                         debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                            professional          unliquidated,   total claim amount and deduction for value of
                                                                            services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                            government
                                                                            contracts)
                                                                                                                  Total claim, if    Deduction for       Unsecured
                                                                                                                  partially          value of            claim
                                                                                                                  secured            collateral or
                                                                                                                                     setoff
     JP Lease Product & Services Co.       Vedder Price                     Loan/Debt                                                                     $1,461,803.24
1    Kasumigaeski Common Gate              1633 Broadway, 31st Floor
     West Tower                            New York, New York 10019
     3-2-1 Kasumigaeski                    cgee@vedderprice.com;
     Chiyoda-Ku, Tokyo Japan               medelman@vedderprice.com
2




3




4




5




6




7




8




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                  page 1
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 Fill in this information to identify the case and this filing:


               JPA No. 111 Co., Ltd.
 Debtor Name __________________________________________________________________
                                            Southern                         New York
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):     21-
                            _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____

         x
             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


             Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    12/17/2021
        Executed on ______________                           /s/Teiji Ishikawa
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Teiji Ishikawa
                                                                ________________________________________________________________________
                                                                Printed name

                                                                 Representative Director
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                                   Chapter 11

JPA NO. 111 CO., LTD. and                                Case No.: 21-              (     )
JPA NO. 49 CO., LTD.,
                                                         (Joint Administration Pending)
                          Debtors.1


                            LIST OF EQUITY SECURITY HOLDERS2

       Debtor Name               Equity Holder             Address of Equity            Percentage of
                                                               Holder                   Equity Held

                                                        Kasumigaseki
                                                        Common Gate West
                                                        Tower
                                                        3-2-1 Kasumigaseki
                                                        Chiyoda-Ku
    JPA No. 111 Co.,          JP Lease Products         Tokyo 100-0013
    Ltd.                      & Services Co. Ltd.       JAPAN                           100%
                                                        Kasumigaseki
                                                        Common Gate West
                                                        Tower
                                                        3-2-1 Kasumigaseki
                                                        Chiyoda-Ku
                              JP Lease Products         Tokyo 100-0013
    JPA No. 49 Co., Ltd.      & Services Co. Ltd.       JAPAN                           100%




1
      The Debtors in these Chapter 11 Cases are: JPA No. 111 Co., Ltd. and JPA No. 49 Co., Ltd. The
      Debtors’ corporate address is Kasumigaseki Common Gate West Tower, 3-2-1 Kasumigaseki,
      Chiyoda-Ku, Tokyo 100-0013.
2
      This list serves as the disclosure required to be made by the Debtors pursuant to Rule 1007 of the
      Federal Rules of Bankruptcy Procedure. The equity position listed as of the date of commencement
      of the chapter 11 cases.
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                             Chapter 11

JPA NO. 111 CO., LTD. and                          Case No.: 21-            (     )
JPA NO. 49 CO., LTD.,
                                                   (Joint Administration Pending)
                      Debtors.1


                       CORPORATE OWNERSHIP STATEMENT

               Pursuant to Rules 1007(a)(1), 1007(a)(3), and 7007.1 of the Federal Rules of

Bankruptcy Procedure, JPA No. 111 Co., Ltd. and JPA No. 49 Co., Ltd., (jointly the

“Debtors”), as debtors and debtors-in-possession in the above-captioned cases,

respectfully represents that JP Lease Products & Services Co. Ltd., directly owns 100%

of the equity interest in the Debtors.




1
 The Debtors in these Chapter 11 Cases are: JPA No. 111 Co., Ltd. and JPA No. 49 Co., Ltd. The
Debtors’ corporate address is Kasumigaseki Common Gate West Tower, 3-2-1 Kasumigaseki, Chiyoda-
Ku, Tokyo 100-0013.
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                                December 17,



                                         December 17,
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